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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                        No. 12-802V
                                    Filed: April 22, 2016

*************************                                 UNPUBLISHED
STEPHANIE PALMER,                         *
                                          *               Special Master Hamilton-Fieldman
                     Petitioner,          *
                                          *
v.                                        *               Attorneys’ Fees and Costs;
                                          *               Reasonable Amount Requested
SECRETARY OF HEALTH                       *               to which Respondent Does Not
AND HUMAN SERVICES,                       *               Object.
                                          *
                     Respondent.          *
*************************
John Arthur Bush, Comstock & Bush, Boise, ID, for Petitioner.
Claudia Barnes Gangi, United States Department of Justice, Washington, DC, for Respondent.

                                            DECISION 1

        On November 20, 2012, Stephanie Palmer (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 Petitioner alleged that the administration of
the Influenza Vaccine caused her to develop Guillan-Barré Syndrome. On October 28, 2015, the
undersigned issued a decision awarding compensation to Petitioner.

        On April 19, 2016, Petitioner filed an application for attorneys’ fees and costs. Petitioner
requests compensation for $16,050.00 in attorneys’ fees and $2,312.71 in costs (of which
Petitioner bore none); in total, Petitioner requests compensation in the amount of $18,362.71.
See Aff. Supp. Fees & Costs at 2, ECF No. 52-1.

       On April 22, 2016, Respondent filed a response to Petitioner’s application, noting that

1
 Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the purposes espoused in the E-Government Act of 2002. See 44
U.S.C. § 3501 (2012). Each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (2012).
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she “does not object to the overall amount sought, as it is not an unreasonable amount to have
been incurred for proceedings in this case to date.” Resp. Mot. Fees & Costs, ECF No. 53.

        In accordance with the Vaccine Act, see 42 U.S.C. § 300aa-15(e) (2012), the undersigned
finds that Petitioner’s request for fees and costs is reasonable.

       Accordingly, the undersigned hereby awards the amount of $18,362.71, in the form
of a check made payable jointly to Petitioner and Petitioner’s counsel, John Arthur Bush.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court shall enter judgment in accordance herewith. 3

       IT IS SO ORDERED.

                                                    /s/Lisa D. Hamilton-Fieldman
                                                    Lisa D. Hamilton-Fieldman
                                                    Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to
seek review. Vaccine Rule 11(a).
